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                                                           EXHIBIT A
                                  In re New Century TRS Holdings, Inc. Case No. 07-10416-KJC (Chap. 11)
                         Movant: Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank USA, NA ACE 2006-NC1
                                                                     D&G Reference: 212145

                                                        Original            Current
 Loan No.    Mortgagors             Loan Date                                               Current Value                       Property Address
                                                       Loan Amt             Payoff

2000153604   Williams Jr.           9/16/2005         332,000.00          352,553.35          287,000.00       7648 Lansing Drive, Lemon Grove, CA 91945

2000153657    Scoville              9/20/2005         131,000.00          134,368.11          158,500.00       351 Asboth Drive, Centerton, AR 72719

2000151932     Naderi               8/29/2005         715,500.00          750,694.00          730,000.00       16809 Cory Drive, Morgan Hill, CA 95037
                                                                                                               10263 Wood Ibis Ave., Bonita Springs, FL
2000151395    Monsalve               8/8/2005         260,000.00          367,364.99          220,000.00
                                                                                                               34135
2000152018     Holman               9/19/2005          70,000.00          87,729.32           96,500.00        7 Netherton Lane, Bella Vista, AR 72714

2000153506     Santos               9/14/2005         248,000.00          248,000.00          282,202.82       108 NW 28th Street, Cape Coral, FL 33993

2000151624    Rebstock               8/4/2005         148,000.00          175,667.35          170,000.00       3824 S 16th Street, Milwaukee, WI 53221
